                         IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF KANSAS

IN RE:
                                                   )     Case No. 19-10065
PARIS EDWARD THOMAS LOYLE and                      )     Chapter 7
KATHERINE CHRISTINE LOYLE,                         )
                                                   )
                               Debtors.            )
                                                   )
                                                   )
PARIS EDWARD THOMAS LOYLE                          )
and KATHERINE CHRISTINE LOYLE,                     )
                                                   )     Case No. 20-05073
                               Plaintiffs          )
                                                   )
vs.                                                )
                                                   )
UNITED STATES DEPARTMENT OF                        )
EDUCATION, et al.,                                 )
                                                   )
                              Defendants.          )
                                                   )

AMENDED NOTICE WITH OPPORTUNITY FOR NONEVIDENTIARY HEARING ON
      MOTION TO SET ASIDE DEFAULT AND DEFAULT JUDGMENT

         NOTICE IS HEREBY GIVEN that if you fail to file a written objection to the above motion

with the Clerk of the U.S. Bankruptcy Court at Wichita, Kansas, on or before April 29, 2021, the

Court will enter an order prepared and submitted by the movant within fourteen (14) days of the

objection deadline and no hearing will be held.

         If you file a timely objection, a nonevidentiary hearing will be held before the U.S.

Bankruptcy Court, 401 N. Market, Wichita, KS 67202, on May 13, 2021, at 9:00 a.m., or as soon

thereafter as the Court’s schedule permits. If you file an objection, you must appear at the hearing

unless you have submitted an agreed order, in advance, signed by all parties or their counsel.




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Dated: April 7, 2021.                                   Respectfully submitted:

                                                        HUSCH BLACKWELL LLP

                                                        s/ Christopher Miles
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                                                        Kansas City, MO 64112
                                                        Telephone: 816-983-8000
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                                                        Christopher.Miles@huschblackwell.com

                                                        Attorneys for FirstMark Services




                                  CERTIFICATE OF SERVICE

        I hereby certify that the above Notice was electronically filed with the Clerk of the
United States Bankruptcy Court for the District of Kansas on April 7, 2021, and was served upon
the Office of the United States Trustee, Debtors’ Counsel and all parties receiving CM/ECF
notification in this matter, as evidenced by the receipt generated at the time of filing.


                                                        s/ Christopher Miles
                                                        CHRISTOPHER MILES




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